                                                                                                                            Entered on Docket
                                                                                                                            April 21, 2020
                                                                                                                            EDWARD J. EMMONS, CLERK
                                                                                                                            U.S. BANKRUPTCY COURT
                                                                                                                            NORTHERN DISTRICT OF CALIFORNIA

                                                                     1      John D. Fiero (CA Bar No. 136557)
                                                                            Jason H. Rosell (CA Bar No. 269126)
                                                                     2      PACHULSKI STANG ZIEHL & JONES LLP    The following constitutes the order of the Court.
                                                                            150 California Street, 15th Floor    Signed: April 21, 2020
                                                                     3      San Francisco, California 94111-4500
                                                                            Telephone: 415.263.7000
                                                                     4      Facsimile: 415.263.7010
                                                                            E-mail: jfiero@pszjlaw.com
                                                                     5              jrosell@pszjlaw.com          ______________________________________________
                                                                                                                          Roger L. Efremsky
                                                                                                                          U.S. Bankruptcy Judge
                                                                     6      Attorneys for Reorganized Debtor
                                                                            SVC
                                                                     7
                                                                                                       UNITED STATES BANKRUPTCY COURT
                                                                     8                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                                                               OAKLAND DIVISION
                                                                     9
                                                                            In re                                                    Case No. 17-10065-RLE
                                                                    10
                                                                                    SVC,                                             Chapter 11
                                                                    11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                                                     ORDER SUSTAINING OBJECTION AND
                                                                    12                                    Debtor.                    DISALLOWING CLAIMS OF STEPHEN A.
                                        SAN FRANCISCO, CALIFORNIA




                                                                                                                                     FINN AND WINERY REHABILITATION,
                                                                    13
                                            ATTORNEYS AT LAW




                                                                                                                                     LLC [DOCKET NO. 516]
                                                                    14                                                               Date: April 15, 2020
                                                                                                                                     Time: 2:00 p.m.
                                                                    15                                                               Place: 1300 Clay Street, Courtroom 201
                                                                                                                                            Oakland, California
                                                                    16                                                               Judge: Honorable Roger L. Efremsky
                                                                    17

                                                                    18              THIS MATTER came before the Court at the above-referenced time and place for a
                                                                    19      telephonic hearing on Chapter 11 Trustee’s Objection to Claims Filed by Stephen A. Finn and
                                                                    20      Winery Rehabilitation, LLC [Docket No. 516] (the “Objection”). Appearances were made as
                                                                    21      reflected in the record. Based upon the Court’s review of the Objection, the pleadings and
                                                                    22      arguments of counsel, and for the reasons stated on the record at the hearing,
                                                                    23              IT IS HEREBY ORDERED:
                                                                    24              1.      The Objection is sustained.
                                                                    25              2.      Claim number 12 filed by Winery Rehabilitation, LLC, as amended, is disallowed in
                                                                    26      its entirety.
                                                                    27              3.      Claim number 14 filed by Stephen A. Finn, as amended, is disallowed in its entirety.
                                                                    28                                          * * * END OF ORDER * * *


                                                                           DOCS_SF:103203.1
                                                                         Case: 17-1006582168/001
                                                                                            Doc# 552       Filed: 04/21/20       Entered: 04/21/20 15:58:01           Page 1 of
                                                                                                                        1
